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 10
 11                     UNITED STATES DISTRICT COURT

 12        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

 13
 14
    GOLDEN BOY PROMOTIONS, LLC,                  Case No. 2:15-cv-03378 JFW (MRWx)
 15 et al.,
                                                 Assigned to Hon. John F. Walter
 16                Plaintiffs,
                                                 DECLARATION OF ADAM B.
 17        v.                                    WOLFSON IN SUPPORT OF
                                                 DEFENDANTS’ MOTION IN
 18 ALAN HAYMON, et al.,                         LIMINE NO. 1 TO EXCLUDE THE
                                                 TESTIMONY OF PLAINTIFFS’
 19                Defendants.                   PROFFERED EXPERT GENE
                                                 DEETZ
 20
                                                 [Defendants’ Motion in Limine No. 1
 21                                              filed concurrently herewith]
 22                                             Hearing Date for Motions in Limine:
                                                February 10, 2017 at 9:00 a.m.
 23                                             Judge: Hon. John F. Walter
 24                                             Courtroom: 7A

 25                                             Pre-Trial Conference Date: January 20,
                                                2017 at 9:00 a.m.
 26
                                                Filing Date: May 5, 2015
 27                                             Trial Date: March 14, 2017
 28
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                                 WOLFSON DECLARATION ISO DEFENDANTS’ MOTION IN LIMINE NO. 1
                                  TO EXCLUDE THE TESTIMONY OF PLAINTIFFS’ EXPERT GENE DEETZ
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  1                     DECLARATION OF ADAM B. WOLFSON
  2         I, Adam B. Wolfson, declare as follows:
  3         1.    I am a partner at the law firm of Quinn Emanuel Urquhart & Sullivan,
  4 LLP, attorneys for Defendants Haymon Boxing LLC, Haymon Sports LLC,
  5 Haymon Boxing Management, and Haymon Holdings LLC (together with
  6 Defendant Alan Haymon, the “Haymon Defendants”). I am an attorney in good
  7 standing in the States of California and New York. I have personal knowledge of
  8 the facts set forth below, and if called upon to do so, can and will competently
  9 testify thereto.
 10         2.    The Haymon Defendants bring their Motion in Limine No. 1 to exclude
 11 the testimony of Plaintiffs’ Proffered Damages Expert, Gene Deetz, on the basis that
 12 it is improper expert testimony pursuant to Fed. R. Evid. 702 because (a) Mr. Deetz
 13 fails to separately show how Golden Boy Promotions, LLC, and Golden Boy
 14 Promotions, Inc. (collectively, “GBP”) were harmed under each of GBP’s liability
 15 theories; (b) his damages theory does not track GBP’s liability theories; and (c)
 16 because his methodology depends on Mr. Deetz’s classification of boxers as either
 17 “championship-caliber” or not, a determination he admitted he is not qualified to
 18 make.
 19         3.    On September 6, 2016, Plaintiffs served on Defendants the Expert
 20 Report of Gene Deetz (the “Deetz Report”). True and correct excerpts from that
 21 Report are attached hereto as Exhibit A.
 22         4.    On October 19, 2016, Defendants deposed Gene Deetz. True and
 23 correct excerpts from that transcript are attached hereto as Exhibit B.
 24         5.    On October 19, 2016, Plaintiffs served on Defendants a Supplement to
 25 the Deetz Report including a Revised Exhibit 3. A true and correct copy of Revised
 26 Exhibit 3 is attached hereto as Exhibit C.
 27
 28
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  1         6.    On September 27, 2016, Defendants served on Plaintiffs the Expert
  2 Rebuttal Report of Michael P. Smith, Ph.D. (the “Smith Report”). True and correct
  3 excerpts from that Report are attached hereto as Exhibit D.
  4         7.    On September 28, 2016, Defendants deposed Roberto Diaz. True and
  5 correct excerpts from that transcript are attached hereto as Exhibit E.
  6         8.    On September 6, 2016, Plaintiffs served on Defendants the Expert
  7 Report of Robert Kneuper, Ph.D. (the “Kneuper Report”). True and correct excerpts
  8 from that Report are attached hereto as Exhibit F.
  9         9.    On September 22, 2016, Defendants deposed Eric Gomez. True and
 10 correct excerpts from that transcript are attached hereto as Exhibit G.
 11         10.   On October 28, 2016, Defendants deposed Julio Ramirez. True and
 12 correct excerpts from that transcript are attached hereto as Exhibit H.
 13         11.   Attached hereto as Exhibit I is a true and correct list of those classified
 14 as “Championship-Caliber Boxers” (“CCBs”) on Mr. Deetz’s Revised Exhibit 3 but
 15 who were not listed as CCBs on either of Exhibits 3 or 4 to Dr. Kneuper’s Report.
 16         12.   On December 2, 2016 counsel for all parties met at the offices of
 17 Plaintiffs’ counsel to meet and confer in accordance with Local Rule 16-2, except
 18 for Norm Simon and Barry Berke, counsel for Alan Haymon, who joined by
 19 telephone because they are located in New York. In addition to discussing all of
 20 the topics required by Local Rule 16-2, the parties discussed their anticipated
 21 motions in limine and the possibility for resolution of the case.
 22         13.   At the parties’ December 2, 2016 Local Rule 16-2 conference, counsel
 23 for Plaintiffs indicated that they intended to introduce Mr. Deetz to provide opinion
 24 testimony at trial. GBP also listed Mr. Deetz on its Initial Draft Witness List that
 25 same day. Defendants explained at that meet and confer that they intended to move
 26 to exclude Mr. Deetz’s opinions, and they explained their intended bases for doing
 27 so.
 28
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                                WOLFSON DECLARATION ISO DEFENDANTS’ MOTION IN LIMINE NO. 1
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  1         14.   On December 5, 2016, the parties exchanged letters and emails
  2 detailing more specifically their anticipated motions in limine, including the motion
  3 to exclude Mr. Deetz from testifying at trial.
  4         15.   The parties met and conferred again on December 13, 2016 in order to
  5 discuss potential resolutions for the anticipated motions. During that conversation,
  6 the parties were able to resolve two of the eleven anticipated motions. However, the
  7 parties were unable to reach agreement on the exclusion of Mr. Deetz’s testimony,
  8 thereby necessitating the Haymon Defendants’ Motion in Limine No. 1.
  9         16.   During the parties’ telephonic conference on December 13, 2016,
 10 counsel for Plaintiffs explained that they disagreed with the bases for Defendants’
 11 motion and would not agree to withdraw Mr. Deetz from their witness list. Given
 12 this impasse, Defendants informed Plaintiffs that they would proceed with the
 13 motion.
 14         17.   The Haymon Defendants will be prejudiced if GBP is allowed to
 15 introduce, mention, or otherwise rely on Mr. Deetz’s Report or related testimony
 16 because his methodology is fatally flawed and would not be helpful to the jury in
 17 determining whether and to what extent GBP was harmed by relevant conduct by
 18 the Haymon Defendants, yet Plaintiffs seek to introduce Mr. Deetz’s testimony
 19 under the guise of an expert opinion.
 20
 21         I declare under penalty of perjury under the laws of California and the United
 22 States that the foregoing is correct.
 23
 24         Executed January 6, 2017, at Los Angeles, California.
 25
                                            By:/s/ Adam B. Wolfson
 26
                                               Adam B. Wolfson
 27
 28
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